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                                             Pg 2 of 176                             NATURE AND AMOUNT
                                                                                                                       OF DISCLOSABLE
MEMBER                                                    ADDRESS                                                   ECONOMIC INTEREST
         c/o Donald E. Creadore, The Creadore Law Firm, P .C., 450 Seventh Avenue - Suite 1408 New York, NY 10123 Unsecured; Unliquidated
          c/o Scott R. Bickford, Esq., Martzell, Bickford & Centola, 338 Lafayette Street New Orleans, LA 70130       Claim for personal
                        c/o Kent Harrison Robbins, Esq. 242 NE 27th Street Miami FL 33137-4522                     injuries; economic loss;
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       c/o Donald E. Creadore, The Creadore Law Firm, P .C., 450 Seventh Avenue - Suite 1408 New York, NY 10123 Unsecured; Unliquidated
                                           Pg 6 of 176                               Claim for personal
        c/o Scott R. Bickford, Esq., Martzell, Bickford & Centola, 338 Lafayette Street New Orleans, LA 70130
                      c/o Kent Harrison Robbins, Esq. 242 NE 27th Street Miami FL 33137-4522                       injuries; economic loss;
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                                                                                Exhibit A
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                                          Pg 10 of 176                              Claim for personal
        c/o Scott R. Bickford, Esq., Martzell, Bickford & Centola, 338 Lafayette Street New Orleans, LA 70130
                      c/o Kent Harrison Robbins, Esq. 242 NE 27th Street Miami FL 33137-4522                       injuries; economic loss;
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                      c/o Kent Harrison Robbins, Esq. 242 NE 27th Street Miami FL 33137-4522                       injuries; economic loss;
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                      c/o Kent Harrison Robbins, Esq. 242 NE 27th Street Miami FL 33137-4522                       injuries; economic loss;
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                      c/o Kent Harrison Robbins, Esq. 242 NE 27th Street Miami FL 33137-4522                       injuries; economic loss;
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                      c/o Kent Harrison Robbins, Esq. 242 NE 27th Street Miami FL 33137-4522                       injuries; economic loss;
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                      c/o Kent Harrison Robbins, Esq. 242 NE 27th Street Miami FL 33137-4522                       injuries; economic loss;
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                      c/o Kent Harrison Robbins, Esq. 242 NE 27th Street Miami FL 33137-4522                       injuries; economic loss;
R.C.                                                                                                              and medical monitoring
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                      c/o Kent Harrison Robbins, Esq. 242 NE 27th Street Miami FL 33137-4522                       injuries; economic loss;
A.M.                                                                                                              and medical monitoring
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                      c/o Kent Harrison Robbins, Esq. 242 NE 27th Street Miami FL 33137-4522                       injuries; economic loss;
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                      c/o Kent Harrison Robbins, Esq. 242 NE 27th Street Miami FL 33137-4522                       injuries; economic loss;
D.J.                                                                                                              and medical monitoring
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Z.C.                                                                                                              and medical monitoring
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                      c/o Kent Harrison Robbins, Esq. 242 NE 27th Street Miami FL 33137-4522                       injuries; economic loss;
P.M.                                                                                                              and medical monitoring
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                      c/o Kent Harrison Robbins, Esq. 242 NE 27th Street Miami FL 33137-4522                       injuries; economic loss;
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                      c/o Kent Harrison Robbins, Esq. 242 NE 27th Street Miami FL 33137-4522                       injuries; economic loss;
L.G.                                                                                                              and medical monitoring
       c/o Donald E. Creadore, The Creadore Law Firm, P .C., 450 Seventh Avenue - Suite 1408 New York, NY 10123   Unsecured; Unliquidated
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       c/o Donald E. Creadore, The Creadore Law Firm, P .C., 450 Seventh Avenue - Suite 1408 New York, NY 10123 Unsecured; Unliquidated
                                          Pg 73 of 176                              Claim for personal
        c/o Scott R. Bickford, Esq., Martzell, Bickford & Centola, 338 Lafayette Street New Orleans, LA 70130
                      c/o Kent Harrison Robbins, Esq. 242 NE 27th Street Miami FL 33137-4522                       injuries; economic loss;
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                                                                                Exhibit A
       c/o Donald E. Creadore, The Creadore Law Firm, P .C., 450 Seventh Avenue - Suite 1408 New York, NY 10123 Unsecured; Unliquidated
                                          Pg 77 of 176                              Claim for personal
        c/o Scott R. Bickford, Esq., Martzell, Bickford & Centola, 338 Lafayette Street New Orleans, LA 70130
                      c/o Kent Harrison Robbins, Esq. 242 NE 27th Street Miami FL 33137-4522                       injuries; economic loss;
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                                                                                Exhibit A
       c/o Donald E. Creadore, The Creadore Law Firm, P .C., 450 Seventh Avenue - Suite 1408 New York, NY 10123 Unsecured; Unliquidated
                                          Pg 81 of 176                              Claim for personal
        c/o Scott R. Bickford, Esq., Martzell, Bickford & Centola, 338 Lafayette Street New Orleans, LA 70130
                      c/o Kent Harrison Robbins, Esq. 242 NE 27th Street Miami FL 33137-4522                       injuries; economic loss;
T.R.                                                                                                              and medical monitoring
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                      c/o Kent Harrison Robbins, Esq. 242 NE 27th Street Miami FL 33137-4522                       injuries; economic loss;
P.O.                                                                                                              and medical monitoring
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                      c/o Kent Harrison Robbins, Esq. 242 NE 27th Street Miami FL 33137-4522                       injuries; economic loss;
A.Z.                                                                                                              and medical monitoring
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                      c/o Kent Harrison Robbins, Esq. 242 NE 27th Street Miami FL 33137-4522                       injuries; economic loss;
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                      c/o Kent Harrison Robbins, Esq. 242 NE 27th Street Miami FL 33137-4522                       injuries; economic loss;
N.J.                                                                                                              and medical monitoring
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                      c/o Kent Harrison Robbins, Esq. 242 NE 27th Street Miami FL 33137-4522                       injuries; economic loss;
J.M.                                                                                                              and medical monitoring
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                      c/o Kent Harrison Robbins, Esq. 242 NE 27th Street Miami FL 33137-4522                       injuries; economic loss;
C.H.                                                                                                              and medical monitoring
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       c/o Donald E. Creadore, The Creadore Law Firm, P .C., 450 Seventh Avenue - Suite 1408 New York, NY 10123 Unsecured; Unliquidated
                                         Pg 148 of 176                            Claim for personal
        c/o Scott R. Bickford, Esq., Martzell, Bickford & Centola, 338 Lafayette Street New Orleans, LA 70130
                      c/o Kent Harrison Robbins, Esq. 242 NE 27th Street Miami FL 33137-4522                       injuries; economic loss;
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                                                                              Exhibit A
       c/o Donald E. Creadore, The Creadore Law Firm, P .C., 450 Seventh Avenue - Suite 1408 New York, NY 10123 Unsecured; Unliquidated
                                         Pg 152 of 176                            Claim for personal
        c/o Scott R. Bickford, Esq., Martzell, Bickford & Centola, 338 Lafayette Street New Orleans, LA 70130
                      c/o Kent Harrison Robbins, Esq. 242 NE 27th Street Miami FL 33137-4522                       injuries; economic loss;
O.Y.                                                                                                              and medical monitoring
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                                                                              Exhibit A
       c/o Donald E. Creadore, The Creadore Law Firm, P .C., 450 Seventh Avenue - Suite 1408 New York, NY 10123 Unsecured; Unliquidated
                                         Pg 156 of 176                            Claim for personal
        c/o Scott R. Bickford, Esq., Martzell, Bickford & Centola, 338 Lafayette Street New Orleans, LA 70130
                      c/o Kent Harrison Robbins, Esq. 242 NE 27th Street Miami FL 33137-4522                       injuries; economic loss;
J.S.                                                                                                              and medical monitoring
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                      c/o Kent Harrison Robbins, Esq. 242 NE 27th Street Miami FL 33137-4522                       injuries; economic loss;
L.L.                                                                                                              and medical monitoring
       c/o Donald E. Creadore, The Creadore Law Firm, P .C., 450 Seventh Avenue - Suite 1408 New York, NY 10123   Unsecured; Unliquidated
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D.F.                                                                                                              and medical monitoring
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                      c/o Kent Harrison Robbins, Esq. 242 NE 27th Street Miami FL 33137-4522                       injuries; economic loss;
N.A.                                                                                                              and medical monitoring
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                                                                              Exhibit A
       c/o Donald E. Creadore, The Creadore Law Firm, P .C., 450 Seventh Avenue - Suite 1408 New York, NY 10123 Unsecured; Unliquidated
                                         Pg 176 of 176                            Claim for personal
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                      c/o Kent Harrison Robbins, Esq. 242 NE 27th Street Miami FL 33137-4522                       injuries; economic loss;
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J.S.                                                                                                              and medical monitoring
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G.W.                                                                                                              and medical monitoring
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A.M.                                                                                                              and medical monitoring
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